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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                DistrictDistrict
                                             __________  of Columbia
                                                                 of __________


Khiry Malik                                                    )
                             Plaintiff                         )
                                v.                             )      Case No. 19-cv-03454-CRC
Government of the District of Columbia, et al.                 )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:
           Khiry Malik, Plaintiff                                                                                      .


Date: 02/19/2020                                                      /s/Sean R. Day/s/
                                                                                         Attorney’s signature

                                                                      Sean R. Day (Bar No. 452420)
                                                                                     Printed name and bar number

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